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       Exhibit C
RGR
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C o M mItTeE
INFORMING ENVIRONMENTAL CHANGE AT                     Climate Science and              2
ELSEVIER AND RELX                                     Elsevier/RELX

The RGR (Responsible Growth Report)                   Stakeholder                      5
Committee was formed in 2021 with the                 dialogue
encouragement of RELX leadership, with
the intention of informing environmental              Communication                   10
change within the Company.                            strategies
This is an unofﬁcial and internal docu-               Concluding                      14
ment, created in the spirit of a culture of
integrity that asks that we incorporate
                                                      observations
ethics into all our actions, grow our busi-
ness with integrity, speak out for what’s
                                                      Discussion                      19
right, and hold ourselves accountable.                questions


ht t ps:/ / t iny ur l.co m/ R G R - C o mmi t te e                   / JANUARY 2022 UPDATE
CLIMATE SCIENCE and ELSEVIER/RELX                                                                       RGR
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For more details, see the Responsible Growth Reports:                                                    C o M mItTeE
https://tinyurl.com/RGR-Committee


  SCI ENCE                                POLICIES                           B US IN E SS


   End all new oil,                          Respond credibly to               Attain signiﬁcant pro-
                                             the crisis in line with           duction gains for the
   gas, and coal                             the scale of action               fossil fuel industry.
   projects                                  deemed necessary
                                             by science.                       Help oil and gas
                                                                               companies discover
   Leave most                                Refrain from providing            new hydrocarbon
                                                                               accumulations.
   reserves in                               goods or services
                                             known to cause harm.
   the ground                                                                  Contribute to the
                                             Discontinue activities            scientiﬁc and techno-
                                             with potentially adverse          logical development
   Large decrease                            climate change-related            of new petroleum
                                                                               exploration projects.
   in emissions                              human rights impacts.

   this decade                                                                 Directly:   R&D, data services,
                                                                                           publishing, and exhbitions.
                                                                               Indirectly: Political action (REPAC)



     Paris Agreement aligned                 Paris Agreement aligned         Not Paris Agreement aligned
CLIMATE SCIENCE and ELSEVIER/RELX                                                                                RGR
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                                                                                                                 C o M mItTeE

Ending all new oil, gas, and coal projects is required to meet the Paris goal
                         AGREE: Climate science experts                                               DISAGREE

   Experts on Elsevier’s Internal and External Climate Boards                                  Some Elsevier Internal
                                                                                               Climate Board (ICB)
   Authors and editors of Elsevier publications                                                members

   The Intergovernmental Panel on Climate Change (IPCC)                                        RELX Compliance
   The 2021 report had 234 authors
                                                                                               Committee
   The International Energy Agency (IEA)                                                       Company pledges that the
                                                                                               business is aligned with the
   Signatories to the Fossil Fuel Non-Proliferation Treaty                                     Paris Agreement are not
   2,500+ scientists, academics and researchers; 100+ Nobel Laureates                          rendered false or misleading by
                                                                                               fossil fuel development activity.
   Keynote Speaker at RELX’s SDG Inspiration Day, 2021
   “We are in a burning house...but inside the burning house we're celebrating our successes
   and business’ high growth rates. We are celebrating but the house itself is burning.”

   Speakers at Elsevier’s Sustain Festival, 2021
   “There is just no room in the carbon budget to extract any more fossil fuels,
   and especially coal, so I think there is no valid argument for doing that.”



                                 Scientiﬁc orientation                                         Business orientation


                                                                                                    / JANUARY 2022 UPDATE
CLIMATE SCIENCE and ELSEVIER/RELX                                                                             RGR
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                                                                                                               C o M mItTeE

The industry is transitioning away from fossil fuels
              AGREE                                DISAGREE: Climate science experts

    ICB4                                       Don't be fooled by oil companies'                 Journal of Cleaner Production
                                               attempts to appear green: they’re not
    “Our focus is on helping
    them in this transformation”
                                               making the required transformations.              New Scientist


                                               Undermining global climate action.                Energy Research and
    ICB1                                                                                         Social Science

    “[We] look for ways we can                 Crippling efforts to decarbonize.                 One Earth
    tangibly help... accelerate
    their clean energy transition”             Use diverse strategies to counter disrup-
                                                                                                 Geoforum
                                               tion, including techniques of Big Tobacco.
     DPM *
     “Geofacets is working and                 Block restraints on activities by dominat-            Elsevier Energy research
     helping mining and O&G                    ing government climate and energy policy                 in the news: Exclusive
     companies to transition”
                                               and weaken regulations.                                  coverage in in today’s
                                                                                                    @guardian on how oil firm
     ICB3                                      Increasingly working to ensure fossil                 bosses’ pay ‘incentivises
                                                                                                           them to undermine
     “The energy industry is                   fuel dependency is maintained.                                  climate action’
     heavily motivated to
     make the transition”                      Exploiting the green growth discourse                            Elsevier Energy
                                               to reinforce their own vested interests.                      (Tweet, 4/15/2021)


     Business orientation                                 Scientiﬁc orientation

* Director of Product Management, Geofacets
*DPM = Director of Project Management, Geofacets
STAKEHOLDER DIALOGUE                                                                                                      RGR
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Thanks to everyone at the Company involved in these dialogues
                                                                                                                          C o M mItTeE

                                            Call 1                       Call 2

      RGR                   HR                   ICB1                        ICB1 and ICB2
                                                                                                         Attended by about a dozen
                                                                                                         RGR Committee members.
      Spring
      2021

                       Engagement                                                 Result

      ICB1              Focused on activities not in the reports;                 In emailing follow up questions concerning a
                        couldn’t say if the company is Paris-aligned.             positive assessment of the fossil fuel industry
                                                                                  transforming and the offsetting of negative
                       Emphasized the reports address minor                       impacts, dialogue was discontinued.
                       aspects of the business (R&D, data services,
                       books, journals, exhibitions, political action)
                                                                                  Referred to the “Climate Action Committee”
                       The decision to provide offerings to                       as a forum to address these issues.
                       that sector is a commercial decision
                       by the business.
                       We are compliant with our policies.


      ICB2             We are compliant with our policies.                        No replies to 2 emails sent with follow
                                                                                  up questions:
                                                                                   Do you find any policies misleading?
                                                                                   What would [a business partner with various
                                                                                   environmental and human rights violations] need
                                                                                   to do for our company to discontinue the partnership?
                                                                                   What is it our policies prohibit?




                                                                                                              / JANUARY 2022 UPDATE
STAKEHOLDER DIALOGUE                                                                          RGR
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                                                                                              C o M mItTeE


  RGR           HR                  ?
  Spring
  2021
                                                       RELX Ethics and
                                                      Compliance ofﬁcers

  RGR
  Fall
  2021




               Engagement                                    Result

  Ethics and   The Company’s business activities             Unwilling to share information used to reach
               related to the fossil fuel industry do not    their conclusions or if they found any of the
  Compliance   render any Company statements false           information in the reports to be inaccurate.
               or misleading.
                                                             Referred to the “Climate Action Committee”
                                                             as a forum to address these issues.




                                                                                    / JANUARY 2022 UPDATE
STAKEHOLDER DIALOGUE                                                                      RGR
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                                                                                          C o M mItTeE


                         Cell Press Senior
                      Management Team (SMT)
  RGR
  Fall
  2021                  ICB3




           Engagement                                 Result

  SMT                                                 We’re still hoping SMT will respond to
                                                      the 10 questions posed to them last
                                                      September in the Fall 2021 report.



  ICB3     Acknowledged areas of concern but          No answer to question, or follow-up question:
           expressed disappointment the report
           didn’t focus on positive impacts of         Do you think the company is fully adhering
           the Company.                                to our environmental policies?

                                                       Do you think those at the RELX level are
                                                       misinterpreting the science or our policies?




                                                                              / JANUARY 2022 UPDATE
STAKEHOLDER DIALOGUE                                                                      RGR
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                                                                                          C o M mItTeE




                                                   “You have assessed many RELX
                                        ICB4       business activities that work
         RGR                                       against our climate pledge.”
         Spring
         2021
                                        ICB5       Endorsed



         RGR                            RGR Committee
         Fall
                                        Experts publishing the latest
         2021                                                             Endorsed
                                        research; other concerned
                                        employees at Cell Press,
                                        The Lancet, and Elsevier (50+)




                                                                                  / JANUARY 2022 UPDATE
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                                                                           ICB1      ICB2                                      Cell Press SMT
                                                         HR
KEY TAKEAWAYS                           RGR                                 ?                             RGR                  ICB3
                                        Spring                                       E&C ofﬁcers          Fall
                                        2021                                                              2021
                                                                                                                               E&C ofﬁcers



 The suggestion from different                   No inaccuracies in the                           No indication request for dialogue
 attendees in both calls that                    reports were highlighted.                        with those responsible for policy
 the company align policies                                                                       adherence (CEOs) will be granted.
 and statements with business                    No explanation as to how the
 activity was not embraced.                      Company determined new fossil                    Some reporting policy guidelines
                                                 fuel projects are compatible with                were not observed; changes
 Responses focused nearly                        the Paris Agreement.                             were made to policies pertaining
 entirely on activity not in                                                                      to reporting concerns and infor-
                                                 If commercial considerations                     mation sharing (see below).
 the reports.
                                                 override policies, it’s unclear what
                                                 our policies require or prohibit.



     Reporting Concerns Policy                                                      Newly enforced policy

        Share information                         The Company does not              Refrain from sharing with colleagues any
        with the Reporter                         share information                 Elsevier owned content (except Gold Open
        about the results.                        gathered or considered            Access) and data, and any other Elsevier/RELX
                                                  when a report is made.            IP, without requesting prior permission.
        Amount shared depends
        upon concerns being
                                                  They did share the reason for                            V
        directly related to the
                                                  the Company’s failure to adhere           V              V
        Reporter’s employment
                                                  to the I&D policy (the PAC
        and/or are subject to                                                         V     W              W                      W
                                                  excludes employees due to
        confidentiality obligations.
                                                  legal constraints).                 Apr   May    Jun     Jul     Aug   Sep       Oct

                                                                                            Informed verbally ( V ) and in writing ( W )
COMMUNICATION STRATEGIES                                                                           RGR
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Employees                                                                                           C o M mItTeE




   Net zero by 2050, considering          Reduced travel
   use of products and services
                                          Reduced paper use
   No new fossil fuel projects
                                           Voluntary policies
   Majority of existing resources          and statements
   left in the ground




  Questions                              Answers

  Different inquiries                    Think of major contributing factors      We did in fact discuss climate
                                         such as paper and travel – if the rest   actions and cutting our emissions
  addressing business                    of the world does that too, we make      on travel by 50%
  activities that are                    a real impact
                                                                                  Our recent signing of the Climate
  not aligned with the                   To comply with the Paris Agreement,      Pledge, work done to transparent-
                                         Elsevier is committed to reduce air      ly report on carbon emissions and
  Paris Agreement.                       travel                                   our significant reduction of busi-
                                                                                  ness travel targets
                                         We achieved net zero on our Scope 1
                                         and 2 + business travel emissions for    We have a very clear climate
                                         the first time in 2020                   emergency statement on els.com

                                         We have signed up to the                 We have initiatives like the Green
                                         Climate Pledge                           Chemistry Award
COMMUNICATION STRATEGIES                                                                     RGR
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Shareholders                                                                                 C o M mItTeE




    Net zero by 2050, considering               Reduced travel
    use of products and services
                                                Reduced paper use
    No new fossil fuel projects
                                                Voluntary policies
    Majority of existing resources              and statements
    left in the ground




  2017 AGM question                           Answer
  “[The speaker] noted various policies on    “It was actually mostly RELX’s own activi-
  environmental impact through operations     ties which needed to be focused on,
  and the supply chain but had not found      including for example the travel of RELX
  any evidence of RELX taking actions or      people getting to work. The realisation
  having targets in the area where RELX       from that study was that it was important
  could have had a potentially negative       to focus on things where RELX could
  impact on costumer use of its products      actually make a significant difference. Mr
  and services. She wanted to know if RELX    Nick Luff explained that that was why RELX
  had such targets and if RELX intended to    focused its efforts there rather than trying
  define such targets.”                       to measure what exactly the customers
                                              did with the products”
COMMUNICATION STRATEGIES                                                                                                         RGR
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                                                                                                                                 C o M mItTeE
To potentially meet the Paris Agreement goal
     Elsevier/RELX approach: Business orientation
       Net zero by 2050, considering                                    Reduced travel *
       use of products and services                                                                                             Extreme
                                                                        Reduced paper use
       No new fossil fuel projects                                                                                              global
                                                                        Voluntary policies                                      heating
       Majority of existing resources                                   and statements **
       left in the ground

                Higher business impact                                          Lower business impact
                PROFIT LOSS                                                     PROFIT GAIN

                Higher climate impact                                           Lower climate impact

       Net zero by 2050, considering                                    Reduced travel *
       use of products and services
       No new fossil fuel projects
                                                                        Reduced paper use                                       ~50%
                                                                        Voluntary policies                                      chance of
       Majority of existing resources                                   and statements **                                       success
       left in the ground

     Required approach: Scientific orientation
* Reducing travel is extremely important, but a primary barrier to achieving worldwide reduction in travel-based emissions is
  the abundance of cheap fossil fuels; ** No climate impact.
COMMUNICATION STRATEGIES                                                                               RGR
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The commercial considerations that hinder constructive stakeholder dialogue are                         C o M mItTeE
also what limit voluntary corporate social responsibility (CSR) initiatives and policies.
                                 From the literature:
                                                                                          Journal of International
            CSR: BUSINESS            Despite best intentions, CSR is                      Management
             ORIENTATION             limited by corporate rationality.
                                                                                          Accounting, Organizations
                                     Seductive corporate sustainability claims            and Society

                                     are discourse mechanisms to permit the               Journal of Business Research
                                     organization to pursue its drives.
                                     CSR’s aim is to increase the bottom                  The Electricity Journal
                                     line and is possible when it does not
                                     compromise commercial performance.                   The Social Science Journal

                                     CSR serves to extend earnings
                                     and continues only as long as it
                                     is proﬁtable for the ﬁrm.

                                 From the Company:
                                                                                        RELX CR
            CSR: BUSINESS            The decision to provide offerings to
             ORIENTATION             that [fossil fuel] sector is a commercial          RELX AGM transcript (2017)
                                     decision by the businesses.
                                                                                        RELX AGM presentation (2019)
                                     Corporate Responsibility is aligned
                                     with strategy to deliver reliable
                                     revenue, proﬁt, and earnings growth
CONCLUDING OBSERVATIONS                                                                            RGR
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 Insights from the literature:                                                                     C o M mItTeE

     Due to penalties for non-economic activity and their legal-economic              Resources Policy
     structure, corporations have little incentive to change voluntarily.
                                                                                      IIMB Management Review

     The capacity of big businesses to modify discourse is much                       Journal of Business Research
     greater than the capacity to remove negative impacts.
                                                                                      Accounting, Organizations
                                                                                      and Society
     A growing number of inherently unsustainable MNEs
                                                                                      Accounting Forum
     are making performative promises about sustainability.
                                                                                      Journal of International
                                                                                      Management
     “Large firm implementation gap:” large firms communicate
     CSR symbolically without substantive implementation.                             Geoforum


     A misleading representation of environmental                                     Journal of Cleaner Production

     performance and initiatives is promoted.                                         Public Relations Review

     Exaggerated hopes generated by voluntary CSR inititatives
     are not actually supported by much empirical evidence.

     Self-regulatory initiatives have no significant influence on environmental management
     and will arguably make no long-term contribution to fighting climate change.

     As a public relations invention of the extraction industry with little, if any, positive
     effect, CSR rests on a platform of in sincerity and deflects attention from crucial issues.

     The reason businesses prefer voluntary initiatives is
     because there are no penalties for non-compliance.

                                                                                       / JANUARY 2022 UPDATE
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         Company policies and statements                                                                                        Business practices
     RELX’s communication on progress regarding our                                                         Asked if this means REPAC is being reformed to
     adherence to the UNGC states that the Company has                                                      comply with sustainability commitments, an ICB
     “place[d] responsibility for execution of sustainability                                               member replied: “The short answer is no.”2
     strategy in relevant corporate functions (procurement,
     government affairs, human resources, legal, etc) ensur-                                                “[REPAC is] looking for things that are important
     ing that no function is conﬂicting with company                                                        for our paychecks… [a] frontline watching for
     sustainability commitments and objectives.”1                                                           things that will tank our stock value.”3

     Ensure lobbying activities don’t elevate false                                                         Finantially support politicians who deny climate
     assertions which harm the ability of States and                                                        change and block urgently required action
     the public to address climate change 4                                                                 For example: “There isn't any real science to say we are altering the
                                                                                                            climate path of the earth.” (Roy Blunt) “This whole global warming
                                                                                                            myth will be exposed as what it really is.” (James Lankford)



     Work with ethical partners who demonstrate                                                             Adani, Anglo American, BHP and Glencore, for
     a responsible approach to managing their                                                               example: all are being sued for environmental
     environmental impact 5                                                                                 and human rights violations


     Elsevier helps researchers and healthcare                                                              Elsevier uses geological research and other data
     professionals advance science and improve                                                              generated by the scientific community and incor-
     health outcomes for the beneﬁt of society                                                              porates it into products and services intended to
     through our high quality information and                                                               facilitate the discovery of new fossil fuels; the
     analytics products.6                                                                                   scientific community says this activity will decimate
                                                                                                            global heath and global stability.7


     We have set a science-based target and have                                                            Petroleum companies and universities, as well
     built upon longstanding environmental efforts...                                                       as research institutes, should work together
     advocating for [climate] action within the                                                             to overcome difficulties in theory and practical
     communities we serve.8                                                                                 technology for deep oil and gas exploration
                                                                                                            and development.9 (2021)

1] https://www.unglobalcompact.org/participation/report/cop/create-and-submit/advanced/455787 2] ICB member, Elsevier Q&A, December 2020 3] Call with 2 REPAC board members, June 16, 2020
4] UNGP 5] Sustainability Charter 6] Elsevier CEO 7] See page 3; also, The Lancet Countdown on health and climate change 8] Elsevier Climate Emergency Statement 9] Journal of Natural Gas Geoscience
                                          Case 1:24-cv-12022-PBS Document 1-3 Filed 08/06/24 Page 17 of 20
         Company policies and statements                                                                                             Business practices
     Response to the crisis is at the necessary                                                                 [The] RX view of when coal should be phased
     scale of action as determined by science 1                                                                 out – that is a matter for policy makers 2

     Each business unit is accountable for ensuring
     policy compliance, recognizing the impact of                                                               Our footprint...doesn’t include the things
     consumer use of products and services 3                                                                    our customers do with what we create 4


     Use a precautionary approach to environmental                                                              Elsevier markets ScienceDirect, our journals, and, as
     challenges; emphasize the prevention of harm 5                                                             “the leading book publisher for the oil and gas
                                                                                                                industry,” our books as a means for the industry to
     Discontinue activities with potentially                                                                    accelerate discoveries 7
     adverse climate change related impacts 6
                                                                                                                We have data-driven services intended to “stimulate
                                                                                                                global oil production for decades to come” 8
                                                                                                                “Our users really want to get their hands on everything and anything
                                                                                                                to find that key insight to help them answer the question, “Where
                                                                                                                am I going to go to next?” No matter how our customer needs and
                                                                                                                desires and pain points evolve, we will always try and develop the
                                                                                                                feature or the content source to really answer those needs.” 9




     Our science-based target underpins our climate                                                            External Climate Advisory Board members
     action program, guided by our independent
     climate advisory board.10                                                                                  “It is well known that proven fossil fuel reserves
     We are advised by an external Climate Advisory                                                             are much higher than we can emit to meet the
     Board that help to guide our actions.11                                                                    Paris goals – so that many companies already have
                                                                                                                unburnable carbon/oil on their balance sheet.”12
                                                                                                                “Fossil fuel industries have to be shut down
                                                                                                                as soon as possible”13


1] RELX Global Environment Policy 2] RX CEO 3] RELX Global Environment Policy 4] SUSTAIN Festival, Net Zero presetation 5] UNGP 6] UNGC 7] https://www.elsevier.com/about/press-releases/
archive/science-and-technology/elsevier-acquires-certain-book-assets-of-gulf-publishing-company; Elsevier PDF: Added Value for the Oil and Gas Industry 8] Elsevier PDF: R&D Solutions for Oil and Gas
9] Product manager, Geofacets 10] Elsevier CEO 11] Elsevier Climate Emergency Statement 12] Prof. Dr. Arnold Tukker 13] Joyashree Roy: Coordinating Lead Author of Chapter 5, IPCC Special Report on 1.5℃
CONCLUDING OBSERVATIONS                                                                           RGR
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 Insights from the literature:                                                                     C o M mItTeE

     Simply having standards and codes is not enough                                  International Encyclopedia
     to ensure that corporate responsibility is applied.                              of Human Geography

                                                                                      Public Relations Review
     Firms have little leverage for ensuring ethical communication
     strategies and need to be far more open about the difficulties                   Journal of Business Research
     they encounter in living up to their own words.                                  Scandinavian Journal
                                                                                      of Management
     Stakeholder consultations are reputation-damage limitation                       Accounting Forum
     exercises, lacking two-way, meaningful communication.
                                                                                      Accounting, Organizations
                                                                                      and Society
     Non-financial stakeholders are relatively powerless;                             Australasian Marketing
     marginalised by corporate decision-making.                                       Journal (AMJ)

                                                                                      Business Horizons
     If accountability is to be achieved, all stakeholders
     need to be empowered and informed.                                               Journal of Cleaner Production


     Neither investees nor investors understand environmental risks
     and consequences for companies, shareholders, and society.

     There’s a need to go beyond corporate image and engage with actual
     corporate practices to consider their impact on the lives of people.

     In the absence of any systematic scrutiny, there is unlikely to be any
     changes in corporate behaviors and in their role in the climate crisis.

     If the aim is to achieve the SDGs by 2030*, dominantly
     symbolic legitimization strategies are insufficient.

                                                                   *NONE OF THE SDG’S ARE ON TRACK TO BE MET
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                                           Business is constructing the dominant discourse around sustainability but in a way which – at best
Accounting, Organizations and Society      – ignores discourse in both the development literature and the development community as well
                                           as the growing body of scientific consensus.



CL I M ATE RES EA R C H                    B US I N E S S


 End all new oil, gas,                        L E G I T I M I Z AT I O N                           Attain signiﬁcant
 and coal projects                            S T R AT E G I E S                                   production gains for
                                              Elsevier Climate Emergency                           the fossil fuel industry.
                                              Statement
 Leave most reserves                          RELX Global Environment Policy
 in the ground                                RELX Climate Change Statement                        Help oil and gas
 Roughly 80%                                  We Are Still In Declaration                          companies discover
                                              Responsible Media Forum’s                            new hydrocarbon
 Large decrease in                            Climate Pact                                         accumulations.
 emissions this decade                        RX Sustainability Charter
                                              Guiding Principles on Business
 Cut climate pollution about in               and Human Rights                                    Contribute to the
 half in the next 100 months                  UN Universal Declaration                            scientiﬁc and techno-
                                              of Human Rights                                     logical development
BU SINESS RES EA R C H                        Elsevier Net Zero Pledge                            of new petroleum
                                              UN Global Compact                                   exploration projects.
 Largely symbolic                             UN SDG Framework
 legitimization                               OECD Guidelines for
                                                                                                  Directly:   R&D, data services,
 strategies are
                                              Multinational Enterprises etc.                                  publishing, and exhbitions.

 insufﬁcient                                       Market dependent
                                                                                                  Indirectly: Political action




                                                  Business as usual, supplemented
   Paris Agreement aligned                              by a growth in renewables            Catastrophic global heating

                                              For more details, see the Responsible Growth Reports: https://tinyurl.com/RGR-Committee
DISCUSSION QUESTIONS                                                                                                            RGR
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                                                                                                                                 C o M mItTeE
 Companies are increasingly perceiving     develop new public relations discourses
                                                                                        Journal of Cleaner Production
 the climate crisis as a business oppor-   if it is to continue delaying the dramatic
 tunity rather than a threat—but the       decarbonization needed to avoid a            Energy Research and
 extraction industry is going to need to   catastrophic climate future.                 Social Science




 Is this the the way forward that Elsevier and RELX plan to continue?                                                   This update is not intended
                                                                                                                        to find fault with individuals

 As the crisis worsens, won’t it get harder for those tasked with                                                       fulfilling their roles at the
                                                                                                                        Company, but to consider
 maintaining a business orientation to claim a scientific one?                                                          constraints being placed
                                                                                                                        upon employees that
 Do the Operating Priciples and Ethics Code discourage                                                                  restrict our ability to

 restrictions now being applied to internal information sharing?                                                        authentically pursue the
                                                                                                                        Company’s mission.

 How can we incentivize leaders to engage in dialogue that’s                                                            “We can only create a
 not modeled on impression management strategies?                                                                       culture of integrity and
                                                                                                                        compliance if everyone
 Could management seek shareholder approval to allow                                                                    plays a role and is
 us to step out of business orientation requirements as it                                                              prepared to stand up for

 pertains to activity that is accelerating climate change?
                                                                                                                        what’s right and to do the
                                                                                                                        right thing as we set the
                                                                                                                        standards we choose to
    Company climate change policies don’t reflect the full extent of business activity.                                 work and live by.”
    Business activity and policy neglect are dictated by shareholder expectations.
                                                                                                                        —EVP, Human Resources
    Shareholders are uninformed regarding business activites fueling climate change.




 If you have questions, comments, or wish to get involved
 with our work, please contact Kip Lyall at klyall@cell.com
